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                                           No. 14-747 C
                                         January 16 2014                              FILED
HUGH CONLEY             III,                                                        JAN   16   2015

                                                                                   U.S. COURTOF
                      Plaintffi                                                  FEDERALCI.AIT'8


         v.

UNITED STATES OF AMERICA,

                       Defendant.

                                  ORDERDISMISSING CASE

         on December 5,2014, the court issued an order to Show cause directing plaint\ff, pro
se, tofile his opposition to defendant's motion to dismiss for lack of subject matter jurisdiction,
pursuant to the Rules of the Court ofFederal Claims ("RCFC) 12(bX1) by^January 5, 2015. The
brder explained that plaintiffs case would be dismissed pursuant to RCFC 4l(b).' for failure to
prosecute, if plaintiff had not set forth in writing by January 5, 2015 his opposition to defendant's
motion to dismiss. To date, plaintiff has filed no response to defendant's said motion to dismiss'

        In consideration of the above, this CASE is DISMISSED, pursuant to RCFC 4l(b), for
failure to prosecute. The Clerk is hereby directed to take the necessary steps to dismiss this
maner.

         IT IS SO ORDERED.




                                                        awrence J. Block




                                                                                  rules or a court
 RCFC 41(b) provides: "If the plaintiff fails to prosecute orto comply with these
 I
                                                                               dismiss the action
order, the court may dismiss on its own motion or the defendant may move to
or any claim against it."
